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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE                    )
COMMISSION,                                )
                                           )
       Plaintiff,                          )
                                           )
v.                                         ) CIVIL ACTION NO. 1:23-cv-01599 (ABJ-ZMF)
                                           )
BINANCE HOLDINGS LIMITED, et al.,          )
                                           )
                                           )
       Defendants.                         )


                                   [PROPOSED] ORDER

       Before the Court is the Chamber of Digital Commerce’s Motion for Leave to File a Brief

as Amicus Curiae in Support of Defendants’ Motions to Dismiss. Having considered the Motion,

and all papers filed in support thereof and in opposition, the Court GRANTS the Motion.



       It is so ORDERED on this ___ day of ________________, 2023.




                                                     __________________________________
                                                          The Hon. Amy Berman Jackson
                                                          United States District Judge
